
45 So. 3d 78 (2010)
Joe E. GRIFFIN, Appellant,
v.
Fred KOBERLEIN, Municipal Attorney, Appellee.
No. 1D10-3051.
District Court of Appeal of Florida, First District.
September 16, 2010.
Joe E. Griffin, pro se, Appellant.
Frederick L. Koberlein, Jr., Lake City, for Appellee.
PER CURIAM.
DISMISSED. The appellant's "Petition for Immediate Decision in Above Styled Case," filed on July 20, 2010, and "Petition for Immediate Decision in Above Styled Case," filed on July 27, 2010, are denied as moot. The "Appellee's Motion to Dismiss," filed on July 30, 2010, is denied as moot.
LEWIS, ROWE, and MARSTILLER, JJ., concur.
